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                    IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF ARKANSAS
                            FORT SMITH DIVISION

 UNITED STATES OF AMERICA                                              PLAINTIFF


 v.                      CASE NO. 02:10-CR-20057-002


 JOHN BULLINGTON, JR.                                                  DEFENDANT

                           SENTENCING MEMORANDUM

       Defendant John Bullington, Jr. appeared for his sentencing

 hearing after pleading guilty to one count of Possession with Intent

 to Distribute more than 50 Grams of a Mixture of Substance Containing

 a Detectable Amount of Methamphetamine, a Controlled Substance, in

 violation of Title 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(viii).

 After reviewing the Pre-Sentence Investigation Report (“PSR”), the

 parties’ objections, and arguments during the hearing, the Court

 concluded a downward variance would provide for a sentence that is

 sufficient, but not greater than necessary to accomplish the goals

 of   sentencing.        Defendant   was    sentenced       to   155   months    of

 imprisonment, 5 years of supervised release, and ordered to pay a

 $2,000.00 fine, plus the $100.00 special assessment.

       The PSR calculated Defendant=s total offense level at 31, with

 a Criminal History Category of VI, and a resulting Guidelines range

 of 188 to 235 months of imprisonment.         These calculations were based

 on the application of the “career offender” enhancement pursuant to

 United States Sentencing Guidelines § 4B1.1.                Absent the career
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 offender enhancement, Defendant’s Criminal History Category would

 be III, with a total offense level of 29, and a resulting Guidelines

 range of 108 to 135 months of imprisonment.         The effect of the career

 offender enhancement is to add 80 and 100 months to the low and high

 end of the Guidelines range, respectively.

       The Court concluded the Guidelines were properly computed,

 including the Defendant’s qualification for, and the application of

 the career offender enhancement.          United States v. Hawk Wing, 433

 F.3d 622, 631 (8th Cir. 2006).         The Court contemplated a departure,

 including a downward departure pursuant to U.S.S.G. § 4A1.3(b)(1)

 based on the substantial over-representation of the seriousness of

 defendant’s criminal history.      Id.       However, a careful review of the

 entire record of Defendant’s criminal history persuaded the Court

 that departure based on the § 4A1.3 was not warranted.             Id.; United

 States v. McNeil, 90 F.3d 298 (8th Cir. 1996); United States v.

 Butler, 296 F.3d 721 (8th Cir. 2002).          The Court considered whether

 to impose a Guidelines or non-Guidelines sentence, taking into

 consideration all of the 18 U.S.C. § 3553(a) factors.                 The Court

 found a substantial variance was warranted to provide a sentence that

 was sufficient, but not greater than necessary to accomplish the

 goals of sentencing.      Id.

       The Court is not required to recite its consideration of each

 of the § 3553(a) factors; however, the Court reiterates that it has

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 considered all the factors, and in light of the circumstances in this

 case, the Court finds that a downward variance is adequately

 justified by recitation of consideration of the factors discussed

 below.    United States v. Powills, 537 F.3d 947, 950 (8th Cir.

 2008)(citing United States v. Hernandez, 518 F.3d 613, 616 (8th Cir.

 2008), and Rita v. United States, 551 U.S. 338 (2007)).

 a.    The History and Characteristics of the Defendant

       The Court first considered overrepresentation of Defendant’s

 criminal history by application of the career offender enhancement

 as a ground for a downward variance.          See United States v. Feemster,

 435 F.3d 881, 884 (8th Cir. 2006)(rejecting the Government’s argument

 that any variance from the career offender Guidelines range would

 be unreasonable).       In Feemster, the Eighth Circuit specifically

 stated that the history and characteristics of the defendant were

 appropriate    considerations,    even       in   cases   involving   a   career

 offender.    Defendant qualified for the career offender enhancement

 based on two prior offenses, which involved six drug related charges,

 two battery charges, and a firearm charge, that occurred on November

 29, 1996, and June 30, 1997.     The offenses occurred months apart and

 the dispositions of the offenses were both entered on January 28,

 1998.    Defendant was paroled in 2000 and completed parole in 2008;

 no criminal history exists outside the instant offense for the period

 following his release in 2000.         Defendant went a significant period

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 of time without any record of recidivism.

       The PSR reports Defendant used significant methamphetamine the

 year immediately prior to his arrest but that he was “clean” for the

 previous eight years.         The Court finds the relationship between

 Defendant’s arrest and his drug habit to be likely one of causation

 rather than correlation.       The Defendant’s ability to remain without

 any criminal history for the period following his parole in 2000,

 to include a lack of misdemeanors or traffic violations, supports

 a finding of an overrepresentation of both the defendant’s criminal

 history and the likelihood he will commit other crimes once released

 from custody for the instant offense.             The prior offenses that

 qualified Defendant for the career enhancement occurred over 13 years

 ago, just two years shy of the exclusion provision pursuant to

 U.S.S.G. § 4A1.2(e).      Due to these offenses, the defendant faced a

 disparately longer sentence than what he would have received absent

 the enhancement, and an even longer sentence as opposed to what he

 previously received for the prior offenses.

       For all the above stated reasons, the Court found the Guidelines

 range   of   188   to   235   months   imprisonment       severely   overstated

 Defendant=s criminal history and a downward variance was warranted.

 United States v. Lee, 454 F.3d 836, 839 (8th Cir. 2006); United States

 v. Jimenez-Gutierrez, 491 F.3d 923, 928 (8th Cir. 2007).               The Court

 is aware that the substantial downward variance results in a sentence

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 in excess of the non-career offender enhanced Guidelines range.                         The

 Court has considered the congressional intent to punish certain types

 of offenders more severely and cannot reject Congress’s judgment to

 punish    repeat     offenders     more     harshly.          The      Court,    in   part,

 reconciles the thirty-three month reduction from the low end of the

 Guidelines     range       by   noting    that     absent        the   career    offender

 enhancement the Court would have considered a sentence at or below

 the low-end of the 108 to 135 month Guidelines range to be a reasonable

 sentence in light of all the § 3553(a) factors.

 b.     The Need to Avoid Unwarranted Sentence Disparities

        Defendant was indicted in Count One of a five-count Indictment

 with     six   co-defendants;        two        co-conspirators          were     indicted

 separately.     Eight of the nine defendants entered guilty pleas and

 the Court has considered the sentences imposed, and the sentences

 recommended     by     Probation.          In    view    of      all    the     sentencing

 considerations, including the culpability based on Defendant’s

 position in the hierarchy of the conspiracy as a low to mid-level

 participant, a variance was needed to avoid unwarranted sentence

 disparities.         See    18 U.S.C. § 3353(a)(6)(“the need to avoid

 unwarranted sentence disparities among defendants with similar

 records who have been found guilty of similar conduct”); see also

 United States v. Hubel, 625 F.Supp.2d 845, 853 (D.Neb. 2008)(holding

 “[t]he Guidelines quantity-driven, “market-oriented” approach is

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 not a proxy for culpability in every case, nor does it always

 correlate    to   the   accurate    measure    when   it     corresponds     to   a

 defendant’s position in the typical hierarchy that characterizes

 most drug conspiracies.        Where the defendant falls in this hierarchy

 is an important factor in the court’s assessment of a defendant’s

 ultimate culpability.”)(original internal quotes); United States v.

 Wong, 127 F.3d 725, 728 (8th Cir. 1997)(holding “some disparity will

 inevitably exist because of the unique facts of each individual

 defendant’s case.”).      Based on these considerations the Court found

 a downward variance to a sentence of 155 months is needed to avoid

 unwarranted disparities.        (emphasis added).

 c.    Other Relevant § 3553(a) Factors

       Several     additional    §   3553(a)   factors      support    a   downward

 variance.    First, with respect to the nature and circumstances of

 the offense, the conspiracy Defendant was convicted of consisted of

 a substantial quantity of drugs, this total quantity was derived,

 in part, due to the size of the conspiracy, not because the defendant

 was a major drug distributor who dispensed large quantities of drugs

 at a time.   Rather, Defendant was a low to mid-level distributor who

 sold mostly to support his own drug habit.                This is a mitigating

 factor not taken into account by the Sentencing Commission.                Second,

 the defendant is in relatively poor health.               He has been diagnosed

 with high blood pressure, high cholesterol, diabetes, sleep apnea,

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 and lung disease.       The PSR also reports Defendant “regularly takes

 [medication] . . . has back problems and suffers from migraine

 headaches.”     In addition, Defendant was declared disabled due to a

 previous leg and back injury.            The Defendant’s health condition

 supported   a      reduced   sentence   of    imprisonment.       Finally,    the

 Guidelines range prior to variance called for a term of 188 to 235

 months imprisonment; the advisory range is unnecessarily long to

 further the objectives of sentencing.             Based on the history and

 characteristics of Defendant the range is much longer than what is

 necessary     to     protect   the   public,     provide,      deterrence     and

 rehabilitate the defendant.

       After having considered all of the remaining § 3553(a) factors,

 the Court determined that a non-Guidelines sentence is appropriate

 and that a sentence of 155 months is sufficient, but not greater than

 necessary to comply with all sentencing purposes.              Accordingly, it

 is the judgment of the Court that Defendant be committed to the

 custody of the United States Bureau of Prisons to be imprisoned for

 155 months, followed by a 5 year term of supervised release, and

 ordered to pay a fine in the amount of $2,000.00, plus the $100 special

 assessment.     The Court determined this is a reasonable sentence in

 light of all the § 3553(a) factors, and is sufficient but not greater

 than necessary to protect the public, provide deterrence, and

 rehabilitate the defendant.

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       This   Sentencing    Memorandum        shall   be    attached     to   and

 incorporated by reference, in its entirety, into the Statement of

 Reasons and Judgment in this case.

       IT IS SO ORDERED this 20th day of July 2011.

                                     /s/ Robert T. Dawson
                                    Honorable Robert T. Dawson
                                    United States District Judge




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